     Case 4:18-cr-00223-RCC-DTF Document 151 Filed 12/21/18 Page 1 of 1



 1
 2
 3
 4                       IN THE UNITED STATES DISTRICT COURT
 5                               FOR THE DISTRICT OF ARIZONA
 6
 7    United States of America,                        No. CR-18-00223-TUC-RCC (BPV)
 8                  Plaintiff,                         ORDER
 9    v.
10    Scott Daniel Warren,
11                  Defendant.
12
13          The Court has reviewed the Reports and Recommendation filed by Magistrate
14    Judge Velasco (Doc. 110) and (Doc. 134), the objections filed thereto and response filed
15    on behalf of the Government.
16          IT IS ORDERED the Court adopts the recommendations of the Magistrate Judge
17    and DENIES the Motion to Suppress (Doc. 53), and DENIES the Motion to Dismiss
18    Indictment for Violation of International Law (Doc. 115).
19          Dated this 19th day of December, 2018.
20
21
22
23
24
25
26
27
28
